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                        UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   Venice PI, LLC, et al.,               )   Case No.: 1:19-cv-169-LEK-KJM
                                         )   (Copyright)
                     Plaintiffs,         )
        vs.                              )   PLAINTIFFS’ MOTION FOR
                                         )   RECONSIDERATION OF ORDER
   DOE 1 et al.,                         )   [DOC. #36] DENYING
                                         )   PLAINTIFFS’ MOTION FOR
                     Defendants.         )   PRELIMINARY INJUNCTION
                                         )   WITHOUT PREJUDICE AND FOR
                                         )   LEAVE TO SERVE THE MOTION
                                         )   FOR PRELIMINARY INJUNCTION
                                         )   ON DEFENDANTS BY
                                         )   ALTERNATIVE MEANS;
                                         )   DECLARATION OF COUNSEL
                                         )
                                         )

       PLAINTIFFS’ MOTION FOR RECONSIDERATION OF ORDER [DOC. #36]
         DENYING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
       WITHOUT PREJUDICE AND FOR LEAVE TO SERVE THE MOTION FOR
         PRELIMINARY INJUNCTION ON DEFENDANTS BY ALTERNATIVE
                                 MEANS

  I.      INTRODUCTION



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        Plaintiffs move this honorable court for Reconsideration of the Order [Doc.

  #36] Denying Plaintiffs’ Ex Parte Motion for a Preliminary Injunction (“Motion”)

  without prejudice. The basis for this request is that the Court’s decision was

  respectfully based on manifest error of law and fact. Plaintiffs have diligently

  moved forward to attempt to serve Defendants DOE 1 and DOE 2 (“Defendants”)

  but have been hindered by the deliberate actions of Defendants and the unique

  procedural nature of this case. Plaintiffs also move this Court for leave to serve at

  least the Motion for Preliminary Injunction (and the Complaint and Summons as

  well) on Defendants by alternative means. Particularly, Plaintiffs request to be

  allowed to serve the Motion to Defendant DOE 1 via the email addresses (1)

  moviesteam@protonmail.com and (2) justyousmileme@gmail.com, both to the

  attention of Nguyen Manh. Plaintiffs request to be allowed to serve the Motion to

  Defendant DOE 2 via the email addresses (1)

  c404d43fa1f3356febac8adad858b8db-8893542@contact.gandi.net and (2)

  segaran@tutanota.com, both to the attention of Mr. Senthil Vijay Segaran.

  I.    PROCEDURAL AND FACTUAL BACKGROUND

        Since the denial of Plaintiffs’ motion for temporary restraining order and

  reservation of ruling on the preliminary injunction on April 15, 2019 [Doc. #16],

  Plaintiffs first filed a Motion for Issuance of Letters of Request on April 26, 2019

  [Doc. #21] to obtain Defendants’ identities from foreign registrars. Despite


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  Plaintiffs having conferenced with two of the Defendants [Doc. #20], Magistrate

  Judge Mansfield denied this request on May 7, 2019 because Plaintiffs had not

  held a Rule 26(f) conference with all Defendants [Doc. #23]. Plaintiffs held the

  Rule 26(f) conference with the remaining named Defendant Brent Baldwin on May

  8, 2019 [Doc. #24]. Plaintiffs than filed an Unopposed Ex Parte Motion for Leave

  to Request Issuance of Order Granting Letters of Request prior to a Rule 26(f)

  Conference on May 10, 2019 [Doc. #25] again requesting issuance of the letters of

  request from the foreign registrars. Magistrate Judge Mansfield denied this request

  on July 1, 2019 [Doc. #32]. Plaintiffs than filed a Request for Reconsideration of

  this denial on July 7, 2019 [Doc. #34]. As of date of this pleading, Plaintiffs are

  awaiting a ruling on the Request for Reconsideration. Defendants Michael Nolasco

  and Cullen Coughlin (Doe 3) were dismissed on May 9 and June 12 of 2019 by

  joint stipulations [Docs. ##25, 31]. A stipulated consent judgement between

  Plaintiffs and Defendant Brent Baldwin was entered on May 23, 2019 [Doc. #29].

        According to the information Plaintiffs have received, Defendant DOE 1 is a

  national of Vietnam named Nguyen Manh and Defendant DOE 2 is a national of

  the United Kingdom. See Decl. of Counsel at ¶9, 07072019 Decl. of Counsel [Doc.

  #34-1] at ¶6. Plaintiffs cannot serve Defendants by traditional means such as Rule

  4(f)(1) (Service per the Convention of 15 November 1965 on the Service Abroad

  of Judicial and Extrajudicial Documents in Civil or Commercial Matters (“Hague


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  Convention”)) or 4(f)(c)(ii) (foreign mailing by Clerk) because Plaintiffs do not

  know Defendants’ address. However, Plaintiffs do know the email addresses of

  Defendants. See Decl. of Counsel at ¶¶4-8, 11 and 14, 07072019 Decl. of Counsel

  [Doc. #34-1] at ¶6. By this motion, Plaintiffs respectfully request that this Court

  reserve ruling on the Motion for Preliminary Injunction and allow Plaintiffs to

  serve at least the Motion (if not the Complaint and Summons as well) on

  Defendants by email.

        Since the hearing on the Motion, Defendant DOE 2 has promptly moved its

  website to YTS.LT and rebranded itself and its torrent files with the name

  YTS.LT. 07072019 Decl. of Counsel [Doc. #34-1] at ¶¶16-18. This action – taken

  shortly after receiving notification of the Motion from Plaintiffs’ counsel – was

  blatantly taken in anticipation of the website being shut down by this Court.

  Although Plaintiffs’ counsel has had settlement negotiations with the purported

  representative of Defendant DOE 2 in which he agreed to remove Plaintiffs’

  motion pictures from the website, Defendant DOE 2 instead first put up a filter in

  which only certain privileged users could access the website to download

  Plaintiffs’ motion pictures. Id. at ¶19. Only after a news article discussing this

  case was published did Defendant DOE 2 finally remove Plaintiffs’ motion

  pictures. Decl. of Counsel at ¶6. However, Plaintiffs received information from

  Defendants Content Delivery Network (“CDN”) provider Cloudflare indicating


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  that Defendant DOE 2’s Cloudflare account is also associated with other notorious

  movie piracy websites (See 07072019 Decl. of Counsel [Doc. #34-1] at ¶10) such

  as rarbg.to and thepiratebay.se.net – websites so notorious that the United States

  Trade Representative (“USTR”) placed these on a list of examples of Notorious

  Markets engaged in and facilitating substantial piracy. See USTR, 2018 Out-of-

  Cycle Review of Notorious Markets, April 2019, pgs. 24, 27-28, Available at

  https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf [last accessed

  on August 9, 2019].

        The story of Defendant DOE 1 is basically similar. Subsequent to the filing

  of the Ex Parte Motion on May 10, 2019 [Doc. #25], Plaintiffs obtained

  information from Cloudflare and Choopa indicating that the account name of

  Defendant DOE 1’s website is Nguyen Manh (“Manh”). See 07072019 Decl. of

  Counsel [Doc. #34] at ¶6. Further, the information also showed that Manh used the

  Cloudflare account to host the movie piracy websites 123movies.is and

  fmoviesfree.is (Id. at ¶4) which also appear to be domains noted by the USTR as

  examples of Notorious Markets. See USTR, at pgs. 4, 18-19, 27.

        On May 23, 2019, Plaintiffs’ counsel sent an email to Manh offering to settle

  this matter if he would agree to cease all movie piracy activities and pay damages.

  Manh never replied to Plaintiffs’ counsel. See 07072019 Decl. of Counsel [Doc.

  #34] at ¶8. That very next day, Manh deleted the piracy websites and suddenly


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  placed the domains up for sale. Id. The domains were immediately purchased by a

  third party on May 24, 2019. See Id. at ¶9.

  II.   STANDARD OF REVIEW AND LEGAL STANDARD

        Local Rule 60.1 governs motions for reconsideration of interlocutory orders.

  For the Court to reconsider an interlocutory order, Plaintiff must establish: (a) the

  discovery of new material facts not previously available; (b) an intervening change

  in law; or (c) manifest error of law or fact. LR 60.1.

  This Court has stated that:

        A motion for reconsideration must (1) “demonstrate reasons why the court

        should reconsider its prior decision” and (2) “must set forth facts or law of a

        strongly convincing nature to induce the court to reverse its prior decision.”

        Hele Ku KB, LLC v. BAC Home Loans Servicing, LP, 873 F. Supp. 2d 1268,

        1289 (D. Haw. 2012). The Ninth Circuit has held that reconsideration is

        appropriate if (1) the district court is presented with “newly discovered

        evidence,” (2) the district court “committed clear error or the initial decision

        was manifestly unjust,” or (3) “if there is an intervening change in controlling

        law.” Nunes v. Ashcroft, 375 F. 3d 805, 807 (9th Cir. 2004).

  Pac. Radiation Oncology, LLC v. Queen's Med. Ctr., Civil No. 12-00064 LEK-KSC,

  2015 WL 274131, at *2 (D. Hawai’i Jan. 21, 2015) (citation omitted).




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        Rule 4(f)(3) allows services “by other means not prohibited by international

  agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3). The Ninth Circuit has held

  that “the task of determining when the particularities and necessities of a given case

  require alternate service of process under Rule 4(f)(3)” is “commit[ed] to the sound

  discretion of the district court.” Rio Properties, Inc. v. Rio Int'l Interlink, 284 F.3d

  1007, 1016 (9th Cir. 2002). Service under Rule 4(f)(3) must “comport with

  constitutional notions of due process” and must be “reasonably calculated, under all

  the circumstances, to apprise interested parties of the pendency of the action and

  afford them an opportunity to present their objections.” Id. at 1016-17 (internal

  quotation marks omitted). “Courts have authorized a wide variety of alternative

  methods of service under Rule 4(f)(3).” Id. at 1016. Alternative service methods

  approved by courts include publication, ordinary mail, email, and delivery to a

  defendant’s attorney. Id.

        The United States, Vietnam and the United Kingdom are contracting parties

  to              the               Hague                 Convention.                 See

  https://www.hcch.net/en/instruments/conventions/status-table/?cid=17. Article 10

  of the Hague Convention states that “Provided the State of destination does not

  object, the present Convention shall not interfere with a) the freedom to send judicial

  documents, by postal channels, directly to persons abroad”. Hague Convention, Art.

  10.


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  III.   ARGUMENT

  A.     The Order denying the motion was manifestly unjust because Plaintiffs have

  not had an opportunity to serve the Motion on Defendants DOE 1 and DOE 2

  because Plaintiffs do not know their physical address.

         In the Order the Court denied the Motion because Plaintiffs have failed to

  show proof of service. However, Plaintiffs could not have served the Motion per

  Rule 4(f)(1) or 4(f)(2) because Plaintiffs do not know the physical address of

  Defendants. As explained above, Plaintiffs know only the name and email address

  of Defendant DOE 1 and email addresses of Defendant DOE 2. To this end,

  Plaintiffs filed the Motions for the letters of requests [Docs. #21, 25, 34].

  B.     The Court May Authorize Service Pursuant to Rule 4(f)(3).

         Plaintiffs are requesting authorization for a manner of service of Defendant

  DOE 1 by sending the documents (1) to the first email address which is the email

  address Defendant DOE 1’s Registrar ISNIC has directed as the appropriate means

  for contacting Defendant DOE 1 (See 05102019 Decl. of Counsel [Doc. #27-2] at

  ¶¶4-5); and (2) the second email address which is the email address Defendant DOE

  1 provided to his website CDN Cloudflare and host provider Choopa (See 07072019

  Decl. of Counsel [Doc. #34] at ¶6, Decl. of Counsel at ¶14), both to the attention of

  Nguyen Manh. Plaintiffs are requesting authorization for a manner of service of

  Defendant DOE 2 by sending the documents (1) to the first email address which is


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  the email address Defendant DOE 2’s Registrar Gandi.net has directed as the

  appropriate means for contacting Defendant DOE 1 (Decl. of Counsel at ¶1) ; and

  (2) the email address Defendant’s purported representative has used to communicate

  with Plaintiffs’ counsel (Decl. of Counsel at ¶¶4-8), both to the attention of Senthil

  Vijay Segaran, the director of the dissolved company Techmodo Limited (Id. at ¶¶4,

  8). Rule 4(f)(3) allows the Court to authorize service by such alternative means

  provided the means “comport with constitutional notions of due process”. Rio at

  1016-17.

  C.    Plaintiffs’ Proposed Means of Service Comport with Due Process.

        Serving Defendants by the email addresses which Defendants’ respective

  Registrar provided as the means for communicating with them, the email address

  Defendant DOE 1 provided to his service providers Cloudflare and Choopa, and the

  email address which Defendant DOE 2’s representative has used to communicate

  with Plaintiffs’ counsel comports with due process because this approach is

  reasonably calculated under the circumstances to apprise Defendants of the

  pendency of the action and afford Defendants an opportunity to present objections.

  It is well-settled that service by email on foreign defendants meets this standard in

  an appropriate case. See, e.g.,Rio Props., 284 F.3d at 1016–17.

        The first email addresses for each of Defendants DOE 1 and DOE 2 is the

  email addresses Defendants’ Registrar provides for contacting Defendants. See


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 Decl. of Counsel ¶1, 05102019 Decl. of Counsel [Doc. #27-2] at ¶¶4-5 and 7-8.

 Plaintiffs’ counsel has sent an email to the first email addresses and received no error

 delivery notification. Id. The regulations established by the Internet Corporation

 for Assigned Names and Numbers (“ICANN”) require an individual registering a

 domain name to provide complete and accurate registration information for the

 domain name. See ICANN Uniform Domain Name Dispute Resolution Policy at ¶2

 , https://www.icann.org/resources/pages/policy-2012-02-25-en [last accessed on

 August 9, 2019]. Gandi.net and ISNIC are providing a privacy service to Defendants

 by concealing Defendants’ contact information from being publicly available.

 However, ICANN requires a privacy service to alternatively publish reliable contact

 information (such as a mail-forwarding email address) in place of the customer's

 personal contact information. See

 https://www.icann.org/resources/pages/pp-services-2017-08-31-en [last accessed

 on August 8, 2019]. ICANN further requires any proxy service or privacy service

 of a Registrar to “…publish a point of contact for third parties wishing to report

 abuse or infringement of trademarks (or other rights).” 2013 Registrar Accreditation

 Agreement Specification on Privacy and Proxy Registrations at Rule 2.2,

 https://www.icann.org/resources/pages/approved-with-specs-2013-09-17-

 en#privacy-proxy [last accessed on August 9, 2019]. Accordingly, because this first




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 email addresses are the email addresses provided by Defendants’ Registrar per

 ICANN regulations, it must be a reliable means for contacting Defendants.

       The second email address for Defendant DOE 1 has also proven to be a

 reliable means for communicating with Defendant DOE 1. For example, once

 Plaintiffs’ counsel sent an email to this second email address using Defendant DOE

 1’s real name, although he did not respond, he immediately took down the website

 YIFYMOVIES.IS. See 07072019 Decl. of Counsel [Doc. #34] at ¶8.

       The second email address for Defendant DOE 2 has also proven to be a

 reliable means for communicating with Defendant DOE 2. Defendant DOE 2’s

 purported representative has communicated with Plaintiff’s counsel from the second

 email address for settlement negotiations. See Id. at ¶¶12-15. Further, Defendant

 DOE 2 has made substantive changes to the YTS website such as removing certain

 titles in response to demands Plaintiffs made in the settlement negotiations. Id. at

 ¶¶12-15 and 18-19, Decl. of Counsel at ¶6.

 C.    The Alternative Means proposed by Plaintiffs are not prohibited by

 international agreement.

       Plaintiff’s proposed alternative means of service are not prohibited by an

 international agreement. The international agreement of concern is the Hague

 Convention. However, the United Kingdom has indicated “no opposition” to the




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 freedom to send judicial documents, by postal channels, directly to persons abroad

 provision of Article 10(a). See

 https://www.hcch.net/en/states/authorities/details3/?aid=278 [last accessed on

 August 8, 2019]. Vietnam has given a qualified opposition to Article 10(a).

 Particularly, Vietnam states “4. The Socialist Republic of Viet Nam does not oppose

 to the service of documents through postal channels mentioned in paragraph a of

 Article 10 of the Convention if the documents forwarded via postal channels are sent

 via   registered    mail    with    acknowledgement       of    receipt.”       See

 https://www.hcch.net/en/instruments/conventions/status-

 table/notifications/?csid=1337&disp=resdn [last accessed on August 9, 2019].

       Moreover, numerous Courts have determined that even for countries that have

 objected to service through postal channels under Article 10 of the Hague

 Convention, email service is still permissible. E.g., Williams-Sonoma Inc. v.

 Friendfinder Inc., No. 06-06572-JSW, 2007 WL 1140639, at *2 (N.D. Cal. Apr. 17,

 2007) (distinguishing email from postal mail and concluding that service by email

 to parties in the Czech Republic, Norway, Switzerland, and Ukraine was

 permissible); Facebook, Inc. v. Banana Ads, LLC, No. 11-3619-YGR, 2012 WL

 1038752, at *2 n.5 (N.D. Cal. Mar. 27, 2012) (finding that email service to Hong

 Kong, “a special administrative region of the People's Republic of China,” was

 acceptable); see also JBR, Inc. v. Cafe Don Paco, Inc., No. 12-CV-02377 NC, 2013


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 WL 1891386, *5 (N.D. Cal. May 6, 2013) (“Courts in the Northern District have

 authorized service via email when... the plaintiff has a valid email address for

 defendant,” citing Facebook, 2012 WL 1038752 at *1–2; Gucci America, Inc. v.

 Huoqing, No. 09–cv–05969 JCS, 2011 WL 31191, *2–3 (N.D. Cal. Jan.3, 2011)

 (finding email service appropriate where a Chinese defendant operated anonymously

 via the internet, used a false physical address, and relied solely on electronic

 communications to operate his business); Bank Julius Baer & Co. Ltd v. Wikileaks,

 No. 08–cv–00824 JSW, 2008 WL 413737, *2 (N.D. Cal. Feb.13, 2008) (finding

 email service appropriate where plaintiffs could not locate a valid physical address

 for defendants, and believed them to be foreign, but had email addresses for

 defendants); Williams–Sonoma Inc., 2007 WL 1140639 at *1–2 (finding that email

 service was proper where physical addresses for foreign defendants could not be

 ascertained, but email had been an effective means of communication between the

 parties)); Kohler Co. v. Domainjet, Inc., No. 11-CV-1767-BEN MDD, 2012 WL

 716883, *2 (S.D. Cal. Mar. 5, 2012) (Allowing Plaintiffs to serve Defendants at e-

 mail addresses Plaintiffs used to communicate with Defendants after they had been

 unable to serve Defendants at any of the three physical addresses that Defendants

 used in registering their domain names because Defendants used the email address

 when registering their domain names).




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           Here, the alternate means requested by Plaintiffs is email, which was not a

 medium considered by the Hague Service Convention. Accordingly, service by

 email is not prohibited by an international agreement with the United Kingdom or

 Vietnam per Rule 4(f)(3).

           Accordingly, Plaintiffs respectfully submit that service through email is

 particularly appropriate here because, as the record reflects, Defendants engaged in

 online business and regularly communicate through these email addresses, including

 to Plaintiffs’ counsel. See 05102019 Decl. of Counsel [Doc. #27-2] at ¶9,

 07072019 Decl. of Counsel [Doc. #34-1] at ¶¶6, 8, 12-14, Decl. of Counsel at ¶¶1,

 3-8, 11.

 E.        Plaintiffs have made diligent efforts to serve Defendants.

           “[S]ervice of process under Rule 4(f)(3) is neither a last resort nor

 extraordinary relief. It is merely one means among several which enables service of

 process on an international defendant.” Rio Props., Inc. v. Rio Int'l Interlink, 284

 F.3d 1007, 1015 (9th Cir. 2002) (alterations and citation omitted). Thus, the rule

 does not require a party to serve process by the means specified in subsections 4(f)(1)

 and (f)(2) before a court permits alternative service by “other means” under Rule

 4(f)(3). See Advanced Aerofoil Techs., AG v. Todaro, 2012 WL 299959, at 1

 (S.D.N.Y. Jan. 31, 2012) (“there is no hierarchy among the subsections in Rule

 4(f)”).


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       Nonetheless, Plaintiffs attempted to serve Defendant DOE 2 through foreign

 mailing per Rule 4(f)(2)(A) but failed. See Decl. of Counsel at ¶9. Plaintiffs would

 not be able to effect service of Defendants DOE 1 and DOE 2 through their

 respective Central Authority per Rule 4(f)(1) because Plaintiffs do not know their

 physical addresses.

 IV.   CONCLUSION

       For the foregoing reasons, the Plaintiffs request that this Court reconsider

 the order denying Plaintiffs’ Motion, and enter an order authorizing alternate service

 of process on Defendants DOE 1 and DOE 2 of the Motion as requested.

                 DATED: Kailua-Kona, Hawaii, August 9, 2019.


                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiffs




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